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 2   District of Arizona
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 3   California State Bar No. 285869
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     Attorneys for Plaintiff
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE DISTRICT OF ARIZONA
10
     United States of America,                            No. CR-23-00517-PHX-SMB
11
                          Plaintiff,                       UNITED STATES’
12                                                  MOTION TO DISMISS INDICTMENT
            vs.
13
     Josephine Barlow Bistline,
14   a.k.a. Jomie B,
15                        Defendant.
16
           The United States, through undersigned counsel, respectfully moves the Court
17
     pursuant to Federal Rule of Criminal Procedure 48(a) to dismiss without prejudice the
18
     Indictment in CR-23-00517-PHX-SMB only. Defendant was charged with the same
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     offenses in the Second Superseding Indictment in CR-22-08092-SMB, and the CR-23-
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     00517-PHX-SMB Indictment is now redundant. Defendant should remain detained in CR-
21
     22-08092-SMB. Pro se Defendant, through advisory counsel Mark Andersen, does not
22
     oppose dismissal of the Indictment. A proposed form of order is attached.
23
           Respectfully submitted this 10th day of July, 2023.
24
                                              GARY M. RESTAINO
25                                            United States Attorney
                                              District of Arizona
26
                                               s/ Jillian Besancon
27                                            JILLIAN BESANCON
                                              Assistant U.S. Attorney
28
       Case 2:23-cr-00517-SMB Document 57 Filed 07/10/23 Page 2 of 2




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                                 CERTIFICATE OF SERVICE
 3         I hereby certify that on this same date, I electronically transmitted the attached
 4   document to the Clerk’s Office using the CM/ECF System for filing a copy to the following
     CM/ECF registrant: Mark Andersen, advisory attorney for pro se defendant Josephine
 5   Barlow Bistline
 6
 7   s/Lynne Hughes
 8   U.S. Attorney’s Office

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